                            United States District Court
                          Western District of North Carolina
                                 Charlotte Division

       Hand Held Products, Inc.           )               AMENDED JUDGMENT
      Honeywell International Inc.        )
      Metrologic Instruments, Inc.,       )
                                          )
               Plaintiff(s),              )              3:21-cv-00506-KDB-DCK
                                          )
                   vs.                    )
                                          )
      OPTO Electronics Co., Ltd.,         )
                                          )
             Defendant(s).                )

DECISION BY COURT. This action having come before the Court by Jury Trial and Bench
Trial and decisions having been rendered -- first, a Jury Verdict and the Court’s findings of fact
and conclusion of law stated on the record on July 20, 2023, and then, on July 26, 2023, an Order
amending the Judgment to reflect stipulated damages awarded in favor of Plaintiffs on the Jury
Verdict;

IT IS ORDERED AND ADJUDGED that the Judgment entered on July 20, 2023, is hereby
amended, pursuant to the Court’s July 26, 2023, Order, and an Amended Judgment is entered as
follows: Plaintiff is awarded damages on the Jury Verdict in the amount of $859,741.



                                                July 26, 2023




     Case 3:21-cv-00506-KDB-DCK Document 358 Filed 07/26/23 Page 1 of 1
